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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                                 AUSTIN DIVISION


In re CASSAVA SCIENCES INC.            §
SECURITIES LITIGATION                  §    Master File No. 1:21-cv-00751-DAE
                                       §
                                       §            CLASS ACTION
This Document Relates to:              §
                                       §
              ALL ACTIONS              §
                                       §




          AFFIDAVIT OF M. SCOTT CAMPBELL IN SUPPORT OF
 DEFENDANTS’ REPLY IN SUPPORT OF MOTION FOR EXTENSION OF TIME TO
                  SEEK LEAVE TO FILE SUR-REPLY
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       I, M. Scott Campbell, declare under penalty of perjury:

       1.      I am an attorney at the law firm of Gibson, Dunn & Crutcher LLP, am admitted pro

hac vice to this action, and am counsel for Defendants in this action. I submit this affidavit in

support of Defendants’ Opposition to Plaintiffs’ Motion for Class Certification.

       2.      Attached are true and correct copies of the following exhibits:

       Exhibit 1:     City of Pontiac Gen Emps.’ Ret. Sys. V. Dell, Inc., 1:15-cv-00374, ECF 123
                      (W.D. Tex., July 27, 2017);

       Exhibit 2:     City of Pontiac Gen Emps.’ Ret. Sys. V. Dell, Inc., 1:15-cv-00374, ECF 124
                      (W.D. Tex., July 28, 2017).

       I declare under penalty of perjury that the foregoing is true and correct. Executed on

September 13, 2024.


                                             /s/ M. Scott Campbell
                                             M. SCOTT CAMPBELL




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                          UNITED STATES DISTRICT COURT

                            WESTERN DISTRICT OF TEXAS

                                    AUSTIN DIVISION

CITY OF PONTIAC GENERAL                    § Case No. 1:15-cv-00374-LY
EMPLOYEES’ RETIREMENT SYSTEM,              §
Individually and on Behalf of All Others   § CLASS ACTION
Similarly Situated,                        §
                                           § The Honorable Lee Yeakel
                           Plaintiff,      §
                                           §
        vs.                                §
                                           §
DELL INC., et al.,                         §
                                           §
                           Defendants.     §
                                           §




  LEAD PLAINTIFF’S OPPOSITION TO DEFENDANTS’ MOTION FOR LEAVE TO
  FILE SUR-REPLY IN OPPOSITION TO MOTION FOR CLASS CERTIFICATION




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        Lead Plaintiff City of Pontiac General Employees Retirement System (“PGERS” or

“Plaintiff”) respectfully submits this opposition to Defendants’ Motion for Leave to File Sur-Reply

in Opposition to Lead Plaintiff’s Motion for Class Certification (Dkt. No. 121) (“Motion”).

I.      DEFENDANTS DO NOT MEET THE LEGAL STANDARD FOR
        PERMITTING SUR-REPLIES

        Leave to file a sur-reply by a non-movant, as Defendants are here, is only appropriate when

the movant (PGERS in this case), “raises new legal theories or attempts to present new evidence at

the reply stage.” Murray v. TXU Corp., 2005 U.S. Dist. LEXIS 10298, at *13 (N.D. Tex. May 27,

2005); see also H-W Tech., L.C. v. Overstock.com, Inc., 2014 U.S. Dist. LEXIS 122667, at *5 (N.D.

Tex. Aug. 15, 2014) (“Leave to file a sur-reply is unwarranted, however, where the proposed sur-

reply merely restates the arguments made in the party’s initial response.”). Sur-replies are “highly

disfavored, as they usually are a strategic effort by the nonmovant to have the last word on a matter

[and] surreplies usually are not that helpful in resolving pending matters, and [the courts] only

permit[] [them] in exceptional or extraordinary circumstances.” Lacher v. West, 147 F. Supp. 2d

538, 539 (N.D. Tex. 2001); see also Warrior Energy Servs. Corp. v. ATP Titan M/V, 551 F. App’x

749, 751 (5th Cir. 2014) (noting that in the Fifth Circuit “‘[s]urreplies are heavily disfavored by

courts’”) (citation omitted).

        Defendants’ Motion does not present a basis for permitting a sur-reply. As discussed below,

PGERS’ Reply in Support of its Motion for Class Certification (Dkt. No. 119) (“Reply”) does not

raise any “new arguments [or] evidence.” Motion, ¶1. Instead, the Reply is properly limited to

refuting the arguments Defendants and their expert raised in opposition to class certification.

Indeed, Defendants’ proposed Sur-Reply in Opposition to Lead Plaintiff’s Motion for Class

Certification (Dkt. No. 121-1) (“Sur-Reply”) merely repeats the same arguments, facts and law

already addressed in their opposition to PGERS’ motion for class certification. Because the


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proposed Sur-Reply adds nothing new or helpful (factually or legally) to the analysis of PGERS’

class certification motion, Defendants’ Motion to file a sur-reply should be denied. Lombardi v.

Bank of Am., 2014 U.S. Dist. LEXIS 32858, at *8 (N.D. Tex. Feb. 19, 2014) (denying motion for

leave to file sur-reply “[s]ince [party’s] proposed surreply merely restates the arguments [the party]

made”), adopted in part by Lombardi v. Bank of Am., 2014 U.S. Dist. LEXIS 32344 (N.D. Tex. Mar.

13, 2014).

II.     DEFENDANTS’ MOTION FAILS TO IDENTIFY ANY NEW LEGAL
        THEORIES OR EVIDENCE RAISED FOR THE FIRST TIME ON REPLY
        Defendants claim a sur-reply is warranted because PGERS has “recast” this case as an

omissions case in order to argue that: (1) the Affiliated Ute presumption of reliance applies; and (2)

to support PGERS’ assertion that the absence of a price increase following Defendants’ alleged

misrepresentations does not meet Defendants’ burden to prove a complete lack of price impact.

Motion, ¶2; Sur-Reply at 1. But these issues have been fully briefed, as well as extensively

discussed in the parties’ experts’ reports, and are not new issues.

        For example, Defendants claim that a sur-reply is warranted because Plaintiff’s omission and

failure-to-disclose theory was raised for the “first time” in the Reply. Motion, ¶2. That is wrong.

At every stage of the case, PGERS has identified this case as one where Defendants failed to

disclose the truth about the demand for, and pricing pressures associated with, Dell’s PC product line

and sales productivity in its enterprise solutions business.1 As addressed in the order denying


1
    See, e.g., Complaint, ¶¶19, 69, 72, 77, 84, 88 (identifying the alleged “true facts” Defendants
improperly failed to disclose); see also Lead Plaintiff’s Opposition to Defendants’ Motion to
Dismiss the Amended Complaint (Dkt. No. 78) at 1 (Oct. 22, 2015) (“This securities fraud action
seeks to recover damages sustained in connection with defendants’ . . . omissions during
1Q13 . . . .”) (emphasis added); Lead Plaintiff’s Motion for Class Certification (Dkt. No. 108) at 8-9
(“In actions primarily involving material omissions, plaintiffs can rely on the Affiliated Ute
presumption of reliance . . . . Here, Plaintiff’s claims are primarily premised on Defendants’
failure to disclose material information about Dell’s PC market and sales.”) (emphasis added); see
also id. at 9 (“Because this is clearly a case involving defendants’ failure to disclose facts . . . the
Affiliated Ute presumption of reliance applies here.”) (emphasis added).

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Defendants’ motion to dismiss “this court conclude[d] that the omissions in Defendants’ statements

give rise to a strong inference of scienter.” City of Pontiac Gen Emps.’ Ret. Sys. v. Dell Inc., 2016

U.S. Dist. LEXIS 126219, at *12-*13 (W.D. Tex. Sept. 16, 2016) (first emphasis added).

Defendants should not now be permitted to file a sur-reply and revise their price impact argument

simply because their expert incorrectly assumed the case involved no omissions or the failure to

disclose. See, e.g., Reply, Ex. I (Allen Depo.) at 74:5-76:11. Indeed, Defendants’ opposition

addressed this very issue in arguing that the Affiliated Ute presumption of reliance, which applies in

cases primarily involving omissions, does not apply in this case. Defendants’ Opposition to Lead

Plaintiff’s Motion for Class Certification (Dkt. No. 114) (“Opp.”) at 11 n.15. Thus, Defendants’

attempt to classify the Complaint’s omissions and failure-to-disclose allegations as “new,” is

incorrect and provides no basis for a sur-reply.2

        Similarly, PGERS’ assertion that the absence of a price increase following Defendants’

alleged misrepresentations does not meet Defendants burden of showing no-price impact, does not

warrant a sur-reply. This assertion was in response to Defendants and their expert’s arguments that a

lack of price increase following the alleged misrepresentations in this case was proof of no-price

impact. Opp. at 13; Opp., Ex. N (Allen Report), ¶¶3, 27-28, 34, 42, 47, 50, 53. PGERS’ response to

an argument raised by Defendants on reply does not warrant a sur-reply.3 Woolard v. Fluor Enters.,

2013 U.S. Dist. LEXIS 21472, at *11-*12 (S.D. Tex. Feb. 15, 2013) (denying motion for leave to

2
    Even if a sur-reply on this issue were proper, which it is not, Defendants improperly play with
semantics to claim that an SEC Rule 10b-5(b) case like this one cannot be premised on omissions of
material information or a failure to disclose. Sur-Reply at 1-2. But SEC Rule 10b-5(b) expressly
provides that it is unlawful for any person “to omit to state a material fact necessary in order to make
the statements made, in light of the circumstances under which they were made, not misleading.” 17
C.F.R. 204.10b-5(b) (emphasis added).
3
    It is well recognized that in cases such as this where it is alleged that a defendant did not disclose
the material information he knew (i.e., omissions), such lack of disclosure would not be expected to
impact the stock price at the time the non-disclosure was made. Reply at 14-15; Reply, Ex. H (Nye
Rebuttal), ¶¶ 26-30 (responding to Defendants’ argument regarding lack of price increase on dates of
the alleged misrepresentations and omissions).

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file a sur-reply because “the Defendant did not raise new legal theories or attempt to present new

evidence in the Reply that would necessitate a surreply by Plaintiff”).

        With regard to price impact, the rebuttal report submitted by PGERS’ expert Dr. Zachary

Nye was limited to rebutting Defendants’ expert’s opinions. Specifically Dr. Nye showed that (1)

Defendants’ expert’s analysis of price impact on the dates of the alleged misstatements and

omissions is flawed because when statements are alleged to have omitted material information, price

impact is properly measured at the time of the disclosure; (2) contrary to Defendants’ expert’s

opinion, the Company-specific disclosures on May 22, 2012, and resulting May 23, 2012 stock price

decline, are related to the alleged omitted information; and (3) Defendants’ expert’s opinion

regarding “other factors” as the cause of the May 23, 2012 Dell stock price decline is flawed. Reply,

Ex. H. Thus, no new legal theories have been advanced by the Reply or the Nye Rebuttal Report

that would justify Defendants’ proposed Sur-Reply. Berkman v. City of Keene, 2011 U.S. Dist.

LEXIS 83580, at *14-*15 (N.D. Tex. July 29, 2011) (rejecting argument that party presented in new

legal theories “[b]ecause [party’s] Motion for Leave to File Surreply involves issues already

addressed”).

III.    DEFENDANTS’ OPPOSITION ALREADY ADDRESSED HALLIBURTON
        III, MATERIALITY AND LOSS CAUSATION
        In a transparent run at getting the last word, Defendants’ Sur-Reply improperly re-argues

their price impact evidence and why the Court should consider their evidence even though it

amounts to inappropriate loss causation and materiality arguments. See Sur-Reply at 4-5, compare

to Opp. at 15-17. Indeed, by their own admission Defendants “anticipate[d]” Plaintiff’s loss

causation and materiality arguments and addressed them directly in their opposition, citing the same

cases they rely on in the proposed Sur-Reply. Opp. at 15-17. Repeated arguments on these issues do

not change the fact that Erica P. John Fund, Inc. v. Halliburton Co., 309 F.R.D. 251 (N.D. Texas

2015) (“Halliburton II”) confirms: (1) “class certification is not the proper procedural stage for the
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Court to determine, as a matter of law, whether the relevant disclosures were corrective”; and (2)

loss causation and the “‘truth on the market’ defense,” which pertains to materiality, are not properly

determined at class certification. Id. at 260-61. Thus, far from raising anything new, PGERS’ Reply

only responded to arguments raised by Defendants in their opposition.

IV.     CONCLUSION
        For the reasons stated above, Defendants’ proposed Sur-Reply is not warranted and

Defendants’ Motion should be denied.

DATED: July 27, 2017                           Respectfully submitted,

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                                   CERTIFICATE OF SERVICE
        I hereby certify that on July 27, 2017, I authorized the electronic filing of the foregoing with

the Clerk of the Court using the CM/ECF system which will send notification of such filing to the

e-mail addresses denoted on the attached Electronic Mail Notice List, and I hereby certify that I

caused to be mailed the foregoing document or paper via the United States Postal Service to the non-

CM/ECF participants indicated on the attached Manual Notice List.

        I certify under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct. Executed on July 27, 2017.

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Mailing Information for a Case 1:15-cv-00374-LY City
of Pontiac General Employees Retirement System v.
Dell Inc. et al
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CITY OF PONTIAC GENERAL                          Case No. 1:1 5-cv-00374-LY
EMPLOYEES' RETIREMENT SYSTEM,
Individually and on Behalf of All Others
Similarly Situated,                              CLASS ACTION
Plaintiff,

vs.

DELL INC., et al.,

Defendants.




        ON THIS DAY, the Court considered Defendants Dell Inc., Stephen Felice, Brian Gladden,

and Michael Dell's Motion for Leave to File a Sur-Reply in Opposition to Lead Plaintiffs Motion

for Class Certification. The Court is of the opinion that the motion is well taken and should be

granted. It is accordingly

        ORDERED that Defendants' Motion for Leave to File a Sur-Reply in Opposition to Lead

Plaintiff's Motion for Class Certification is GRANTED.



                                                                    LEE YE    EL
                                                         TED STATE DISTRICT JUDGE
